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                           UNITED ST ATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      §
                                               §
 v.                                            §    No. 21-CR-3 (RCL)
                                               §
 JACOB ANTHONY CHANSLEY,                       §
 AKA "JAKE ANGELI,"                            §
 AKA "JACOB ANGELI,"                           §
                                               §
              Defendant.                       §

                                           ORDER

       The United States of America's opposed motion to extend response deadline is hereby

granted. The government shall file a response no later than 14 days from the publication of the

Fischer v United States decision from the Supreme Court.




                                                                                   J./..., 1.,,
                                           HONORABLE ROYCE C. LAMBERTH

                                           UNITED STATES DISTRICT COURT JUDGE




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